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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   LUFKIN DIVISION

 JULIA A. GORNEY,                               §
                                                §
        Plaintiff,                              §
                                                §
 v.                                             §        CIVIL ACTION NO. 9:21-CV-00083
                                                §        JUDGE MICHAEL J. TRUNCALE
 NORTHSTAR LOCATION SERVICES,                   §
 LLC,                                           §
                                                §
         Defendant.                             §

                           ORDER ON CLOSING DOCUMENTS

       The Parties have notified the Court via a Notice of Settlement [Dkt. 14] that they have

reached a settlement and are in the process of completing the settlement agreement and filing

dismissal papers.

       It is therefore ORDERED that all Parties or their counsel shall submit to the Court all

papers necessary for the closing of this case and its removal from the active docket of this Court

on or before January 3, 2022. If such papers are not received by the Court by the scheduled

deadline, the Court may order dismissal of this action without further notice. Within sixty

(60) days of a dismissal order, any Party may petition to have the case reinstated upon showing

good cause as to why settlement was not in fact consummated.

       It is further ORDERED that all Court dates and pending deadlines are hereby vacated.

                                     SIGNED this 2nd day of November, 2021.




                                                                   ____________________________
                                                                   Michael J. Truncale
                                                                   United States District Judge
